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                          BOBOIS USA, LTD. (“ROCHE-
                      8 BOBOIS”), EUROPEAN CALIFORNIA
                          FURNITURE, LTD., INPALA, INC,
                      9 RBPASADENA, LLC, and ORANGE
                          COAST DESIGN, LLC
                     10

                     11                                UNITED STATES DISTRICT COURT
                     12                              CENTRAL DISTRICT OF CALIFORNIA
                     13

                     14 JESSICA ENRIQUEZ and DAMION                      CASE NO. 2:18-cv-02389-DSF-KS
                        JONES, individually and on behalf of             Assigned to Hon. Dale S. Fischer
                     15 all others similarly situated, and the           Courtroom 7D
                        general public,
                     16                                                  DEFENDANTS’ ANSWER TO
                                             Plaintiffs,                 PLAINTIFFS’ THIRD AMENDED
                     17                                                  CLASS ACTION COMPLAINT
                                    vs.                                  FOR DAMAGES
                     18
                          ROCHE-BOBOIS USA, LTD.
                     19 (“ROCHE-BOBOIS”), a New York
                          corporation; European California
                     20 Furniture, LTD., a California
                          corporation; INPALA, INC., a
                     21 California corporation and DOES 1
                          through 30, inclusive,                         Removal Filed:     March 23, 2018
                     22                                                  Trial Date:        October 29, 2019
                                             Defendants.
                     23

                     24

                     25            Defendants ROCHE-BOBOIS U.S.A., LTD. (“ROCHE-BOBOIS”),
                     26 EUROPEAN CALIFORNIA FURNITURE, LTD., INPALA, INC., ORANGE
                     27 COAST DESIGN, LLC, and RBPASADENA, LLC (hereinafter “Defendants”), by

                     28 and through their counsel of record, answer to the Third Amended Class Action
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                      1 Complaint (“TAC”) of Plaintiffs JESSICA ENRIQUEZ, DAMION JONES,

                      2 MICHELLE SHARPE, and DAMIAN DEBLIS (hereinafter “Plaintiffs”) as follows:

                      3                                         INTRODUCTION
                      4            1.        In answer to Paragraph 1, Defendants need not address Plaintiffs’
                      5 summary of the action. To the extent that any averment in Paragraph 1 is deemed to

                      6 require a response, Defendants admit that Plaintiffs seek recovery on behalf of

                      7 themselves and a putative class of California employees based on the alleged wage

                      8 and hour violations stated therein. Except as expressly admitted herein, Defendants

                      9 deny each and every allegation of Paragraph 1.

                     10            2.        In answer to Paragraph 2, Defendants need not address Plaintiffs’
                     11 summary of the action. To the extent that any averment in Paragraph 2 is deemed to

                     12 require a response, Defendants admit that Plaintiffs seek recovery on behalf of

                     13 themselves and a putative class of California employees based on the alleged wage

                     14 and hour violations stated therein. Except as expressly admitted herein, Defendants

                     15 deny each and every allegation of Paragraph 2.

                     16            3.        In answer to Paragraph 3, Defendants need not address Plaintiffs’
                     17 summary of the action. To the extent that any averment in Paragraph 3 is deemed to

                     18 require a response, Defendants admit that the acts complained of by Plaintiffs

                     19 purport to span a time period from four (4) years preceding the filing of the original

                     20 Complaint. Except as expressly admitted herein, Defendants deny each and every

                     21 allegation of Paragraph 3.

                     22                                  JURISDICTION AND VENUE
                     23            4.        In answer to Paragraph 4, Defendants deny the allegations as
                     24 Defendants removed this matter from the Superior Court of California due to federal

                     25 question jurisdiction.

                     26            5.        In answer to Paragraph 5, Defendants admit that Defendant Roche-
                     27 Bobois U.S.A., Ltd. is a New York Corporation. Except as expressly admitted

                     28 herein, Defendants deny each and every allegation of Paragraph 5.
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                      1            6.        Defendants admit to the allegations in Paragraph 6 of the TAC.
                      2            7.        In answer to Paragraph 7, Defendants deny the allegations as
                      3 Defendants removed this matter from the Superior Court of California due to federal

                      4 question jurisdiction. Defendants admit that the alleged acts and omissions alleged

                      5 in the TAC took place in Los Angeles County. Defendants deny the remaining

                      6 allegations in Paragraph 7.

                      7                                          THE PARTIES
                      8            8.        In answer to Paragraph 8, Defendant is without sufficient knowledge or
                      9 information upon which to form a belief as to the truth of the allegation that Plaintiff

                     10 Jessica Enriquez is or was a resident of the County of Los Angeles, State of

                     11 California, and on that basis deny said allegation. Except as expressly admitted,

                     12 Defendants deny all allegations in Paragraph 8 of the TAC.

                     13            9.        In answer to Paragraph 9, Defendants admit that Plaintiff Enriquez was
                     14 employed by Defendant INPALA, INC. until January 11, 2016. Except as expressly

                     15 admitted here, Defendants deny each and every allegation of Paragraph 9.

                     16            10.       In answer to Paragraph 10, Defendant is without sufficient knowledge
                     17 or information upon which to form a belief as to the truth of the allegation that

                     18 Plaintiff Damion Jones is or was a resident of the County of Los Angeles, State of

                     19 California, and on that basis deny said allegation. Except as expressly admitted,

                     20 Defendants deny all allegations in Paragraph 10 of the TAC.

                     21            11.       In answer to Paragraph 11, Defendants admit that Plaintiff Jones was
                     22 employed by Defendant INPALA, INC. beginning in February 2015. Except as

                     23 expressly admitted here, Defendants deny each and every allegation of Paragraph

                     24 11.

                     25            12.       In answer to Paragraph 12, Defendant is without sufficient knowledge
                     26 or information upon which to form a belief as to the truth of the allegation that
                     27 Plaintiff Michelle Sharpe is or was a resident of the County of Los Angeles, State of

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                      1            13.       California, and on that basis deny said allegation. Except as expressly
                      2 admitted, Defendants deny all allegations in Paragraph 12.

                      3            14.       In answer to Paragraph 13, Defendants admit that Plaintiff Sharpe was
                      4 employed by Defendant INPALA, INC. beginning in June 2016. Except as

                      5 expressly admitted here, Defendants deny each and every allegation of Paragraph

                      6 13.

                      7            15.       In answer to Paragraph 14, Defendant is without sufficient knowledge
                      8 or information upon which to form a belief as to the truth of the allegation that

                      9 Plaintiff Damian DeBlis is or was a resident of the County of Los Angeles, State of

                     10 California, and on that basis deny said allegation. Except as expressly admitted,

                     11 Defendants deny all allegations in Paragraph 14.

                     12            16.       In answer to Paragraph 15, Defendants admit that Plaintiff DeBlis was
                     13 employed by Defendant ORANGE COAST DESIGN, LLC. beginning in July 2011.

                     14 Except as expressly admitted here, Defendants deny each and every allegation of

                     15 Paragraph 15.

                     16            17.       In answer to Paragraph 16, Defendants admit that some, but not all, of
                     17 Plaintiffs obligations and responsibilities included, but were not limited to: selling

                     18 high-end home furnishing to Defendants’ customers; submitting purchase orders to

                     19 Defendants’ factories and managing follow-up communications regarding said

                     20 orders; communicating with Defendants’ customers regarding the status of their

                     21 furniture orders; preparing designs for projects; updating the showroom’s tagging

                     22 and marketing store tools; coordinating with Defendants’ customer service

                     23 department regarding customer service issues/complaints and following up with

                     24 Defendants’ customers regarding service requests; learning Roche Bobois’ new

                     25 collections; and, attending mandatory meetings. Except as expressly admitted here,

                     26 Defendants deny each and every allegation of Paragraph 16.
                     27            18.       In answer to Paragraph 17, Defendants deny each and every allegation
                     28 contained therein.
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                      1            19.       In answer to Paragraph 18, Defendants need not address Plaintiffs’
                      2 summary of the action. Moreover, Defendants state that the paragraph contains no

                      3 factual allegations and therefore requires no response. To the extent that any

                      4 averment in Paragraph 18 is deemed to require a response, Defendants deny each

                      5 and every allegation contained therein.

                      6            20.       In answer to Paragraph 19, Defendant admits that Defendants
                      7 EUROPEAN CALIFORNIA FURNITURE, LTD., INPALA, INC., ORANGE

                      8 COAST DESIGN, LLC, AND RBPASADENA, LLC employ numerous employees

                      9 in the State of California that are paid on a commission-basis. Except as expressly

                     10 admitted here, Defendants deny each and every allegation of Paragraph 19.

                     11            21.       In answer to Paragraph 20, Defendants deny each and every allegation
                     12 contained therein.

                     13            22.       Defendants admit to the allegations in Paragraph 21 of the TAC.
                     14            23.       Defendants admit to the allegations in Paragraph 22 of the TAC.
                     15            24.       Defendants admit to the allegations in Paragraph 23 of the TAC.
                     16            25.       Defendants admit to the allegations in Paragraph 24 of the TAC.
                     17            26.       In answer to Paragraph 23, Defendant admits that Defendants
                     18 EUROPEAN CALIFORNIA FURNITURE, LTD., INPALA, INC., ORANGE

                     19 COAST DESIGN, LLC, AND RBPASADENA, LLC are licensed to conduct

                     20 business within the State of California and do, in fact, conduct business within the

                     21 State of California. Except as expressly admitted here, Defendants deny each and

                     22 every allegation of Paragraph 25.

                     23            27.       In answer to Paragraph 26, Defendants admit that Plaintiffs Enriquez,
                     24 Jones, and Sharpe were employed by Defendant INPALA, INC., Plaintiff DeBlis

                     25 was employed by ORANGE COAST DESIGN, LLC, and the putative class

                     26 members were employed by EUROPEAN CALIFORNIA FURNITURE, LTD.,
                     27 INPALA, INC., ORANGE COAST DESIGN, LLC, AND RBPASADENA, LLC

                     28 / / /
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                      1 for four (4) years prior to the commencement of the action. Except as

                      2 expressly admitted herein, Defendants deny each and every allegation of Paragraph

                      3 26.

                      4            28.       In answer to Paragraph 27, Defendants deny each and every allegation
                      5 contained therein.

                      6            29.       In answer to Paragraph 28, Defendants deny each and every allegation
                      7 contained therein.

                      8            30.       In answer to Paragraph 29, Defendants deny each and every allegation
                      9 contained therein.

                     10            31.       In answer to Paragraph 30, Defendants deny each and every allegation
                     11 contained therein.

                     12            32.       In answer to Paragraph 31, Defendants deny each and every allegation
                     13 contained therein.

                     14            33.       In answer to Paragraph 32, Defendants deny each and every allegation
                     15 contained therein.

                     16            34.       In answer to Paragraph 33, Defendants deny each and every allegation
                     17 contained therein.

                     18            35.       In answer to Paragraph 34, Defendants deny each and every allegation
                     19 contained therein.

                     20            36.       In answer to Paragraph 35, Defendants deny each and every allegation
                     21 contained therein.

                     22                                    GENERAL BACKGROUND
                     23            37.       In answer to Paragraph 36, Defendants state that the referenced statutes
                     24 and wage orders speak for themselves, the paragraph contains no factual allegations,

                     25 and therefore it requires no response.

                     26            38.       In answer to Paragraph 37 and subparts (a)-(n), Defendants state that
                     27 the paragraph and subparts contain legal conclusions and no factual allegations, and

                     28 therefore require no response. To the extent that any averments in Paragraph 37 are
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                      1 deemed to require a response, Defendants deny each and every allegation contained

                      2 therein.

                      3            39.       In answer to Paragraph 38, Defendants deny each and every allegation
                      4 contained therein.

                      5            40.       In answer to Paragraph 39, Defendants state that the referenced statutes
                      6 and wage order speak for themselves, and the portion of paragraph 39 that refers to

                      7 it contains no factual allegations and requires no response. As to the balance of

                      8 Paragraph 39, Defendants deny each and every allegation contained therein.

                      9            41.       In answer to Paragraph 40, Defendants state that the referenced statutes
                     10 and wage order speak for themselves, and the portion of paragraph 40 that refers to

                     11 it contains no factual allegations and requires no response. As to the balance of

                     12 Paragraph 40, Defendants deny each and every allegation contained therein.

                     13            42.       In answer to Paragraph 41, Defendants state that the referenced statute
                     14 speaks for itself, the paragraph contains no factual allegations, and therefore it

                     15 requires no response.

                     16            43.       In answer to Paragraph 42, Defendants state that the referenced statute
                     17 speaks for itself, the paragraph contains no factual allegations, and therefore it

                     18 requires no response.

                     19            44.       In answer to Paragraph 43, Defendants state that the referenced statute
                     20 speaks for itself, the paragraph contains legal conclusions and no factual allegations,

                     21 and therefore requires no response. To the extent that any averments in Paragraph

                     22 43 are deemed to require a response, Defendants deny each and every allegation

                     23 contained therein.

                     24            45.       In answer to Paragraph 44, Defendants state that the referenced statutes
                     25 and wage order speak for themselves, the paragraph contains no factual allegations,

                     26 and therefore it requires no response.
                     27            46.       In answer to Paragraph 45, Defendants state that the referenced statutes
                     28 and wage order speak for themselves, and the portion of paragraph 45 that refers to
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                      1 it contains no factual allegations and requires no response. As to the balance of

                      2 Paragraph 45, Defendants deny each and every allegation contained therein.

                      3            47.       In answer to Paragraph 46, Defendants deny each and every allegation
                      4 contained therein.

                      5            48.       In answer to Paragraph 47, Defendants state that the referenced statutes
                      6 speak for themselves, the paragraph contains no factual allegations, and therefore it

                      7 requires no response.

                      8            49.       In answer to Paragraph 48, Defendants deny each and every allegation
                      9 contained therein.

                     10            50.       In answer to Paragraph 49, Defendants deny each and every allegation
                     11 contained therein.

                     12            51.       In answer to Paragraph 50, Defendants state that the referenced statute
                     13 speaks for itself, the paragraph contains no factual allegations, and therefore it

                     14 requires no response.

                     15            52.       In answer to Paragraph 51, Defendants state that the referenced statute
                     16 speaks for itself, the paragraph contains no factual allegations, and therefore it

                     17 requires no response.

                     18            53.       In answer to Paragraph 52, Defendants state that the referenced statute
                     19 speaks for itself, contains no factual allegations, and therefore requires no response.

                     20 To the extent that any averments in Paragraph 52 are deemed to require a response,

                     21 Defendants deny each and every allegation contained therein.

                     22                                CLASS ACTION ALLEGATIONS
                     23            54.       In answer to Paragraph 53, Defendants need not address Plaintiffs’
                     24 summary of the action. Moreover, Defendants state that the paragraph contains no

                     25 factual allegations and therefore requires no response. To the extent that any

                     26 averment in Paragraph 53 is deemed to require a response, Defendants deny each
                     27 and every allegation contained therein.

                     28 / / /
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                      1            55.       In answer to Paragraph 54 and subparts (a)-(d), Defendants state that
                      2 the paragraph contains no factual allegations and therefore requires no response. To

                      3 the extent that any averment in Paragraph 54 is deemed to require a response,

                      4 Defendants deny each and every allegation contained therein.

                      5            56.       In answer to Paragraph 55 and subparts (a)-(k), Defendants state that
                      6 the paragraph contains no factual allegations and therefore requires no response. To

                      7 the extent that any averment in Paragraph 55 is deemed to require a response,

                      8 Defendants deny each and every allegation contained therein.

                      9            57.       In answer to Paragraph 56, Defendants state that the referenced rule of
                     10 court speaks for itself, the paragraph contains no factual allegations, and therefore it

                     11 requires no response.

                     12            58.       In answer to Paragraph 57, Defendants deny each and every allegation
                     13 contained therein.

                     14            59.       In answer to Paragraph 58 and subparts (a)-(t), Defendants state that the
                     15 paragraph contains no factual allegations and therefore requires no response. To the

                     16 extent that any averment in Paragraph 58 is deemed to require a response,

                     17 Defendants deny each and every allegation contained therein.

                     18            60.       In answer to Paragraph 59, Defendants deny each and every allegation
                     19 contained therein.

                     20            61.       In answer to Paragraph 60, Defendants deny each and every allegation
                     21 contained therein.

                     22            62.       In answer to Paragraph 61, Defendants deny each and every allegation
                     23 contained therein.

                     24            63.       In answer to Paragraph 62, Defendants deny each and every allegation
                     25 contained therein.

                     26 / / /
                     27 / / /

                     28 / / /
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                       1                                    FIRST CAUSE OF ACTION
                       2                              FAILURE TO PAY MINIMUM WAGE
                       3            64.       In answer to Paragraph 63, Defendants incorporate their responses in to
                       4 Paragraphs 1 through 62 as though stated fully herein.

                       5            65.       Defendants admit to the allegations in Paragraph 64 of the TAC.
                       6            66.       In answer to Paragraph 65, Defendants deny each and every allegation
                       7 contained therein.

                       8            67.       In answer to Paragraph 66, Defendants state that the referenced statute
                       9 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      10 requires no response.

                      11            68.       In answer to Paragraph 67, Defendants state that the referenced wage
                      12 order speaks for itself, the paragraph contains no factual allegations, and therefore it

                      13 requires no response.

                      14            69.       In answer to Paragraph 68, Defendants state that the referenced wage
                      15 order speaks for itself, and the portion of Paragraph 68 that refers to it contains no

                      16 factual allegations and requires no response. As to the balance of Paragraph 68,

                      17 Defendants deny each and every allegation contained therein.

                      18            70.       In answer to Paragraph 69, Defendants state that the referenced statute
                      19 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      20 requires no response.

                      21            71.       In answer to Paragraph 70, Defendants state that the referenced statutes
                      22 and wage order speak for themselves, the paragraph contains no factual allegations,

                      23 and therefore it requires no response.

                      24            72.       In answer to Paragraph 71, Defendants state that the referenced statutes
                      25 and wage order speak for themselves, the paragraph contains no factual allegations,

                      26 and therefore it requires no response.
                      27            73.       In answer to Paragraph 72, Defendants deny each and every allegation
                      28 contained therein.
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                       1            74.       In answer to Paragraph 73, Defendants deny each and every allegation
                       2 contained therein.

                       3                                  SECOND CAUSE OF ACTION
                       4                 FAILURE TO PAY STATUTORY/CONTRACTUAL WAGE
                       5            75.       In answer to Paragraph 74, Defendants incorporate their responses in to
                       6 Paragraphs 1 through 73 as though stated fully herein.

                       7            76.       In answer to Paragraph 75, Defendants admit that Defendants
                       8 EUROPEAN CALIFORNIA FURNITURE, LTD., INPALA, INC., ORANGE

                       9 COAST DESIGN, LLC, AND RBPASADENA, LLC are required to pay employees

                      10 in the State of California for all hours worked at the statutory or agreed upon rate.

                      11 Except as expressly admitted herein, Defendants deny each and every allegation of

                      12 Paragraph 75.

                      13            77.       In answer to Paragraph 76, Defendants state that the referenced wage
                      14 order speaks for itself, the paragraph contains no factual allegations, and therefore it

                      15 requires no response.

                      16            78.       In answer to Paragraph 77, Defendants deny each and every allegation
                      17 contained therein.

                      18            79.       In answer to Paragraph 78, Defendants deny each and every allegation
                      19 contained therein.

                      20            80.       In answer to Paragraph 79, Defendants deny each and every allegation
                      21 contained therein.

                      22            81.       In answer to Paragraph 80, Defendants deny each and every allegation
                      23 contained therein.

                      24            82.       In answer to Paragraph 81, Defendants deny each and every allegation
                      25 contained therein.

                      26 / / /
                      27 / / /

                      28 / / /
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                       1                                   THIRD CAUSE OF ACTION
                       2                               FAILURE TO OVERTIME WAGES
                       3       (In Violation of California Labor Code §§ 510, 1194, 1198, and IWC Wage
                       4                                          Order 7-2001 § 3)
                       5            83.       In answer to Paragraph 82, Defendants incorporate their responses in to
                       6 Paragraphs 1 through 81 as though stated fully herein.

                       7            84.       In answer to Paragraph 83, Defendants deny each and every allegation
                       8 contained therein.

                       9            85.       In answer to Paragraph 84, Defendants deny each and every allegation
                      10 contained therein.

                      11            86.       In answer to Paragraph 85, Defendants state that the referenced statute
                      12 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      13 requires no response.

                      14            87.       In answer to Paragraph 86, Defendants state that the referenced statute
                      15 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      16 requires no response.

                      17            88.       In answer to Paragraph 87, Defendants state that the referenced statute
                      18 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      19 requires no response.

                      20            89.       In answer to Paragraph 88, Defendants deny each and every allegation
                      21 contained therein.

                      22            90.       In answer to Paragraph 89, Defendants deny each and every allegation
                      23 contained therein.

                      24                                  FOURTH CAUSE OF ACTION
                      25                               FAILURE TO OVERTIME WAGES
                      26          (In Violation of the Fair Labor Standards Act, 29 U.S.C. § 201 et. seq.)
                      27            91.       In answer to Paragraph 90, Defendants incorporate their responses in to
                      28 Paragraphs 1 through 89 as though stated fully herein.
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                       1            92.       In answer to Paragraph 91, Defendants state that the referenced statute
                       2 speaks for itself, the paragraph contains no factual allegations, and therefore it

                       3 requires no response.

                       4            93.       Defendants admit to the allegations in Paragraph 92 of the TAC.
                       5            94.       Defendants admit to the allegations in Paragraph 93 of the TAC.
                       6            95.       In answer to Paragraph 94, Defendants deny each and every allegation
                       7 contained therein.

                       8            96.       In answer to Paragraph 95, Defendants deny each and every allegation
                       9 contained therein.

                      10            97.       In answer to Paragraph 96, Defendants deny each and every allegation
                      11 contained therein.

                      12            98.       In answer to Paragraph 97, Defendants deny each and every allegation
                      13 contained therein.

                      14            99.       In answer to Paragraph 98, Defendants deny each and every allegation
                      15 contained therein.

                      16                                   FIFTH CAUSE OF ACTION
                      17                              FAILURE TO PROVIDE SICK DAYS
                      18            100. In answer to Paragraph 99, Defendants incorporate their responses in to
                      19 Paragraphs 1 through 98 as though stated fully herein.

                      20            101. In answer to Paragraph 100, Defendants state that the referenced statute
                      21 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      22 requires no response.

                      23            102. In answer to Paragraph 101, Defendants deny each and every allegation
                      24 contained therein.

                      25            103. In answer to Paragraph 102, Defendants deny each and every allegation
                      26 contained therein.
                      27 / / /

                      28 / / /
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                       1                                  SIXTH CAUSE OF ACTION
                       2                            UNLAWFUL DEDUCTION OF WAGES
                       3            104. In answer to Paragraph 103, Defendants incorporate their responses in
                       4 to Paragraphs 1 through 102 as though stated fully herein.

                       5            105. In answer to Paragraph 104, Defendants state that the referenced
                       6 statutes speak for themselves, the paragraph contains no factual allegations, and

                       7 therefore it requires no response.

                       8            106. In answer to Paragraph 105, Defendants state that the referenced statute
                       9 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      10 requires no response.

                      11            107. In answer to Paragraph 106, Defendants state that the referenced statute
                      12 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      13 requires no response.

                      14            108. In answer to Paragraph 107, Defendants deny each and every allegation
                      15 contained therein.

                      16            109. In answer to Paragraph 108, Defendants deny each and every allegation
                      17 contained therein.

                      18            110. In answer to Paragraph 109, Defendants deny each and every allegation
                      19 contained therein.

                      20                                SEVENTH CAUSE OF ACTION
                      21                       FAILURE TO PAY VESTED VACATION WAGES
                      22            111. In answer to Paragraph 110, Defendants incorporate their responses in
                      23 to Paragraphs 1 through 109 as though stated fully herein.

                      24            112. In answer to Paragraph 111, Defendants state that the referenced
                      25 statutes speak for themselves, the paragraph contains no factual allegations, and

                      26 therefore it requires no response.
                      27            113. In answer to Paragraph 112, Defendants deny each and every allegation
                      28 contained therein.
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                       1            114. In answer to Paragraph 113, Defendants deny each and every allegation
                       2 contained therein.

                       3            115. In answer to Paragraph 114, Defendants deny each and every allegation
                       4 contained therein.

                       5            116. In answer to Paragraph 115, Defendants state that the referenced wage
                       6 order speaks for itself, and the portion of Paragraph 115 that refers to it contains no

                       7 factual allegations and requires no response. As to the balance of Paragraph 115

                       8 Defendants deny each and every allegation contained therein.

                       9            117. In answer to Paragraph 116, Defendants deny each and every allegation
                      10 contained therein.

                      11            118. In answer to Paragraph 117, Defendants deny each and every allegation
                      12 contained therein.

                      13            119. In answer to Paragraph 118, Defendants deny each and every allegation
                      14 contained therein.

                      15                                 EIGHTH CAUSE OF ACTION
                      16                        FAILURE TO PROVIDE PAID REST PERIODS
                      17                           OR COMPENSATION IN LIEU THEREOF
                      18            120. In answer to Paragraph 119, Defendants incorporate their responses in
                      19 to Paragraphs 1 through 118 as though stated fully herein.

                      20            121. In answer to Paragraph 120, Defendants state that the referenced statute
                      21 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      22 requires no response.

                      23            122. In answer to Paragraph 121, Defendants state that the referenced statute
                      24 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      25 requires no response.

                      26            123. In answer to Paragraph 122, Defendants state that the referenced wage
                      27 order speaks for itself, the paragraph contains no factual allegations, and therefore it

                      28 requires no response.
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                       1            124. In answer to Paragraph 123, Defendants deny each and every allegation
                       2 contained therein.

                       3            125. In answer to Paragraph 124, Defendants deny each and every allegation
                       4 contained therein.

                       5            126. In answer to Paragraph 125, Defendants deny each and every allegation
                       6 contained therein.

                       7            127. In answer to Paragraph 126, Defendants deny each and every allegation
                       8 contained therein.

                       9            128. In answer to Paragraph 127, Defendants deny each and every allegation
                      10 contained therein.

                      11            129. In answer to Paragraph 128, Defendants deny each and every allegation
                      12 contained therein.

                      13                                  NINTH CAUSE OF ACTION
                      14                        FAILURE TO PROVIDE PAID MEAL PERIODS
                      15                           OR COMPENSATION IN LIEU THEREOF
                      16            130. In answer to Paragraph 129, Defendants incorporate their responses in
                      17 to Paragraphs 1 through 128 as though stated fully herein.

                      18            131. In answer to Paragraph 130, Defendants state that the referenced statute
                      19 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      20 requires no response.

                      21            132. In answer to Paragraph 131, Defendants state that the referenced statute
                      22 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      23 requires no response.

                      24            133. In answer to Paragraph 132, Defendants state that the referenced wage
                      25 order speaks for itself, the paragraph contains no factual allegations, and therefore it

                      26 requires no response.
                      27            134. In answer to Paragraph 133, Defendants deny each and every allegation
                      28 contained therein.
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                       1            135. In answer to Paragraph 134, Defendants deny each and every allegation
                       2 contained therein.

                       3            136. In answer to Paragraph 135, Defendants deny each and every allegation
                       4 contained therein.

                       5            137. In answer to Paragraph 136, Defendants deny each and every allegation
                       6 contained therein.

                       7            138. In answer to Paragraph 137, Defendants deny each and every allegation
                       8 contained therein.

                       9                                  TENTH CAUSE OF ACTION
                      10                      FAILURE TO REIMBURSE BUSINESS EXPENSES
                      11            139. In answer to Paragraph 138, Defendants incorporate their responses in
                      12 to Paragraphs 1 through 137 as though stated fully herein.

                      13            140. In answer to Paragraph 139, Defendants state that the referenced statute
                      14 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      15 requires no response.

                      16            141. In answer to Paragraph 140, Defendants deny each and every allegation
                      17 contained therein.

                      18            142. In answer to Paragraph 141, Defendants deny each and every allegation
                      19 contained therein.

                      20            143. In answer to Paragraph 142, Defendants deny each and every allegation
                      21 contained therein.

                      22            144. In answer to Paragraph 143, Defendants deny each and every allegation
                      23 contained therein.

                      24            145. In answer to Paragraph 144, Defendants deny each and every allegation
                      25 contained therein.

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                       1                                ELEVENTH CAUSE OF ACTION
                       2                       FAILURE TO MAINTAIN PAYROLL RECORDS
                       3                      AND PROVIDE ITEMIZED WAGE STATEMENTS
                       4            146. In answer to Paragraph 145, Defendants incorporate their responses in
                       5 to Paragraphs 1 through 144 as though stated fully herein.

                       6            147. In answer to Paragraph 146, Defendants state that the referenced statute
                       7 speaks for itself, the paragraph contains no factual allegations, and therefore it

                       8 requires no response.

                       9            148. In answer to Paragraph 147, Defendants state that the referenced statute
                      10 and wage order speak for themselves, and the portion of Paragraph 147 that refers to

                      11 them contains no factual allegations and requires no response. As to the balance of

                      12 Paragraph 147, Defendants deny each and every allegation contained therein.

                      13            149. In answer to Paragraph 148, Defendants deny each and every allegation
                      14 contained therein.

                      15            150. In answer to Paragraph 149, Defendants deny each and every allegation
                      16 contained therein.

                      17            151. In answer to Paragraph 150, Defendants deny each and every allegation
                      18 contained therein.

                      19                                TWELFTH CAUSE OF ACTION
                      20                              FAILURE TO TIMELY PAY WAGES
                      21            152. In answer to Paragraph 151, Defendants incorporate their responses in
                      22 to Paragraphs 1 through 150 as though stated fully herein.

                      23            153. In answer to Paragraph 152, Defendants state that the referenced statute
                      24 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      25 requires no response.

                      26            154. In answer to Paragraph 153, Defendants state that the referenced statute
                      27 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      28 requires no response.
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                       1            155. In answer to Paragraph 154, Defendants deny each and every allegation
                       2 contained therein.

                       3            156. In answer to Paragraph 155, Defendants state that the referenced statute
                       4 speaks for itself, the paragraph contains no factual allegations, and therefore it

                       5 requires no response.

                       6            157. In answer to Paragraph 156, Defendants deny each and every allegation
                       7 contained therein.

                       8            158. In answer to Paragraph 157, Defendants deny each and every allegation
                       9 contained therein.

                      10            159. In answer to Paragraph 158, Defendants deny each and every allegation
                      11 contained therein.

                      12            160. In answer to Paragraph 159, Defendants state that the referenced statute
                      13 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      14 requires no response.

                      15            161. In answer to Paragraph 160, Defendants deny each and every allegation
                      16 contained therein.

                      17            162. In answer to Paragraph 161, Defendants deny each and every allegation
                      18 contained therein.

                      19            163. In answer to Paragraph 162, Defendants deny each and every allegation
                      20 contained therein.

                      21                              THIRTEENTH CAUSE OF ACTION
                      22                      UNLAWFUL RELEASE OF WAGES AND EXPENSES
                      23                                   BROUGHT UNDER PAGA
                      24            164. In answer to Paragraph 163, Defendants incorporate their responses in
                      25 to Paragraphs 1 through 162 as though stated fully herein.

                      26            165. In answer to Paragraph 164, Defendants state that the referenced statute
                      27 and wage order speak for themselves, and the portion of Paragraph 164 that refers to

                      28 them contains no factual allegations and requires no response. As to the balance of
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                       1 Paragraph 164, Defendants deny each and every allegation contained therein.

                       2            166. In answer to Paragraph 165, Defendants state that the referenced statute
                       3 speaks for itself, the paragraph contains no factual allegations, and therefore it

                       4 requires no response.

                       5            167. In answer to Paragraph 166, Defendants state that the referenced statute
                       6 speaks for itself, the paragraph contains no factual allegations, and therefore it

                       7 requires no response.

                       8            168. In answer to Paragraph 167, Defendants state that the referenced statute
                       9 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      10 requires no response.

                      11            169. In answer to Paragraph 168, Defendants deny each and every allegation
                      12 contained therein.

                      13            170. In answer to Paragraph 169, Defendants deny each and every allegation
                      14 contained therein.

                      15            171. In answer to Paragraph 170, Defendants deny each and every allegation
                      16 contained therein.

                      17                              FOURTEENTH CAUSE OF ACTION
                      18                        VIOLATION OF UNFAIR COMPETITION LAW
                      19            172. In answer to Paragraph 171, Defendants incorporate their responses in
                      20 to Paragraphs 1 through 170 as though stated fully herein.

                      21            173. In answer to Paragraph 172, Defendants deny each and every allegation
                      22 contained therein.

                      23            174. In answer to Paragraph 173 and subparts (a)-(o), Defendants state that
                      24 the referenced statutes and wage orders speak for themselves, the paragraph and

                      25 subparts contain legal conclusions and no factual allegations, and therefore require

                      26 no response. To the extent that any averments in Paragraph 173 are deemed to
                      27 require a response, Defendants deny each and every allegation contained therein.

                      28 / / /
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                       1            175. In answer to Paragraph 174, Defendants deny each and every allegation
                       2 contained therein.

                       3            176. In answer to Paragraph 175, Defendants deny each and every allegation
                       4 contained therein.

                       5            177. In answer to Paragraph 176, Defendants deny each and every allegation
                       6 contained therein.

                       7            178. In answer to Paragraph 177, Defendants deny each and every allegation
                       8 contained therein.

                       9            179. In answer to Paragraph 178, Defendants deny each and every allegation
                      10 contained therein.

                      11            180. In answer to Paragraph 179, Defendants deny each and every allegation
                      12 contained therein.

                      13                               FIFTEENTH CAUSE OF ACTION
                      14      CALIFORNIA LABOR CODE PRIVATE ATTORNEYS GENERAL ACT
                      15            181. In answer to Paragraph 180, Defendants incorporate their responses in
                      16 to Paragraphs 1 through 179 as though stated fully herein.

                      17            182. In answer to Paragraph 181, Defendants state that the referenced statute
                      18 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      19 requires no response. To the extent that any averments in Paragraph 181 are

                      20 deemed to require a response, Defendants deny each and every allegation contained

                      21 therein.

                      22            183. In answer to Paragraph 182, Defendants deny each and every allegation
                      23 contained therein.

                      24            184. In answer to Paragraph 183, Defendants state that the referenced statute
                      25 speaks for itself, the paragraph contains no factual allegations, and therefore it

                      26 requires no response.
                      27            185. In answer to Paragraph 184, Defendants state that the referenced statute
                      28 speaks for itself, the paragraph contains no factual allegations, and therefore it
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                       1 requires no response. To the extent that any averments in Paragraph 184 are

                       2 deemed to require a response, Defendants deny each and every allegation contained

                       3 therein.

                       4            186. In answer to Paragraph 185, Defendants state that the referenced statute
                       5 speaks for itself, the paragraph contains no factual allegations, and therefore it

                       6 requires no response. To the extent that any averments in Paragraph 185 are

                       7 deemed to require a response, Defendants deny each and every allegation contained

                       8 therein.

                       9            187. In answer to Paragraph 186, Defendants deny each and every allegation
                      10 contained therein.

                      11                                     PRAYER FOR RELIEF
                      12            188. Defendants need not address Plaintiffs’ prayer for relief. To the extent
                      13 that any averment in Plaintiffs’ prayer is deemed to require a response,

                      14 Defendants deny each and every allegation contained therein.

                      15                                   AFFIRMATIVE DEFENSES
                      16            189. Defendants have not completed their investigation of the facts of this
                      17 case, have not completed discovery in this matter, and have not completed their

                      18 preparation for trial. The defenses stated herein are based on Defendants’

                      19 knowledge, information, and belief at this time. Defendants specifically reserve the

                      20 right to modify, amend, or supplement any defense contained herein at any time.

                      21 Without conceding that it bears the burden of proof or persuasion as to any one of

                      22 them, Defendants assert the following separate affirmative defenses to the Third

                      23 Amended Complaint.

                      24                               FIRST AFFIRMATIVE DEFENSE
                      25                                (Failure to State a Cause of Action)
                      26            190. Neither the Third Amended Complaint nor any purported cause of
                      27 action alleged therein state claims upon which relief can be granted.

                      28 / / /
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                       1                              SECOND AFFIRMATIVE DEFENSE
                       2                                (Reasonableness and Good Faith)
                       3            191. Defendants and their agents acted reasonably and in good faith at all
                       4 times material herein, based on all relevant facts and circumstances known by them

                       5 at the time they so acted. Accordingly, Plaintiffs are barred from any recovery in

                       6 this action.

                       7                               THIRD AFFIRMATIVE DEFENSE
                       8                                        (Rest Period Law)
                       9            192. Pursuant to the applicable Wage Order, Defendants “authorized and
                      10 permitted” Plaintiffs to take rest periods.

                      11                              FOURTH AFFIRMATIVE DEFENSE
                      12                                        (Meal Period Law)
                      13            193. Pursuant to the applicable Wage Order, Defendants “provided”
                      14 Plaintiffs with the ability to take meal periods.

                      15                               FIFTH AFFIRMATIVE DEFENSE
                      16                                    (Labor Code Section 226)
                      17            194. Plaintiffs did not suffer an actual injury and therefore cannot recover
                      18 damages or statutory penalties under Labor Code section 226.

                      19                               SIXTH AFFIRMATIVE DEFENSE
                      20                                   (No Overtime Wages Owed)
                      21            195. Plaintiffs’ claims for unpaid overtime wages are barred because
                      22 Defendants timely paid all wages owed to them.

                      23                             SEVENTH AFFIRMATIVE DEFENSE
                      24                             (Commissioned/Inside Sales Exemption)
                      25            196. Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs were
                      26 exempt from overtime requirements under the Commissioned/Inside Sales
                      27 exemption of the Industrial Welfare Commission’s Wage Orders.

                      28 / / /
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                       1                              EIGHTH AFFIRMATIVE DEFENSE
                       2                                   (No Waiting Time Penalties)
                       3            197. Plaintiffs’ claims for “waiting time penalties” under California Labor
                       4 Code section 203 for untimely payment of wages are barred because Defendants did

                       5 not intentionally or willfully withhold payment of wages.

                       6                               NINTH AFFIRMATIVE DEFENSE
                       7                                (No Vested Vacation Wages Owed)
                       8            198. Plaintiffs’ claims for unpaid vested wages are barred because
                       9 Defendants timely paid all wages owed to them.

                      10                               TENTH AFFIRMATIVE DEFENSE
                      11                                         (Reimbursement)
                      12            199. Plaintiffs’ claim for reimbursement of business expenses are barred
                      13 because Defendants lawfully compensated Plaintiffs for all work-related expenses.

                      14                            ELEVENTH AFFIRMATIVE DEFENSE
                      15                                     (Unintentional Conduct)
                      16            200. Plaintiffs’ claim for civil penalties pursuant to California Labor Code
                      17 section 226 is barred because, in the event that Defendants failed to provide accurate

                      18 itemized wage statements, which they deny, Defendants did not knowingly or

                      19 intentionally do so.

                      20                             TWELFTH AFFIRMATIVE DEFENSE
                      21                                (Inadequate Class Representative)
                      22            201. Plaintiffs’ class action claims are barred in whole or in part because
                      23 Plaintiffs are inadequate class representatives to the claims asserted.

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                       1                           THIRTEENTH AFFIRMATIVE DEFENSE
                       2                                  (Uncertifiable Putative Class)
                       3            202. Plaintiffs’ class action claims are barred because Defendants have not
                       4 engaged in actions of the kind alleged that are generally applicable to the proposed

                       5 class of Plaintiffs, and as such, this action is not properly maintainable and/or does

                       6 not qualify for certification under the requirements for a class action.

                       7                           FOURTEENTH AFFIRMATIVE DEFENSE
                       8                            (No Common Questions of Law and Fact)
                       9            203. Plaintiffs’ class action claims are barred because questions of law and
                      10 fact common to Plaintiffs do not predominate over the questions affecting individual

                      11 members of the proposed class. Therefore, this action is not appropriate for

                      12 certification as a class action.

                      13                            FIFTEENTH AFFIRMATIVE DEFENSE
                      14                                          (No Typicality)
                      15            204. Plaintiffs’ class action claims are barred because Plaintiffs cannot
                      16 establish that their claims are typical of those of the class and therefore, this action is

                      17 not appropriate for certification as a class action.

                      18                            SIXTEENTH AFFIRMATIVE DEFENSE
                      19                                         (No Numerosity)
                      20            205. Plaintiffs’ class action claims are barred because Plaintiffs cannot
                      21 establish that members of the class are so numerous that joinder is impracticable.

                      22 Therefore, this action is not appropriate for certification as a class action.

                      23                          SEVENTEENTH AFFIRMATIVE DEFENSE
                      24                                   (No Community of Interest)
                      25            206. The class allegations in Plaintiffs’ Third Amended Complaint are
                      26 improper as a matter of law because there is no community of interest in the claims
                      27 asserted by Plaintiffs and those of the purported putative class.

                      28 / / /
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                       1                           EIGHTEENTH AFFIRMATIVE DEFENSE
                       2                                      (Statute of Limitations)
                       3            207. Plaintiffs’ claims are barred, in whole or in part, to the extent that
                       4 Plaintiffs have failed to file this action within the applicable statute of limitations,

                       5 including but not limited to California Code of Civil Procedure section 340,

                       6 California Labor Code section 2699.3, and Business and Professions Code section

                       7 17200, et seq.

                       8                           NINETEENTH AFFIRMATIVE DEFENSE
                       9                                         (Unclean Hands)
                      10            208. Plaintiffs are barred from maintaining the Third Amended Complaint
                      11 and each purported cause of action therein as a result of their unclean hands with

                      12 respect to the events upon which the Third Amended Complaint and purported

                      13 causes of action allegedly are based.

                      14                           TWENTIETH AFFIRMATIVE DEFENSE
                      15                                            (Estoppel)
                      16            209. Plaintiffs are estopped by their own conduct from asserting any and all
                      17 claims they may have had or have against Defendants arising from the facts alleged

                      18 in the Third Amended Complaint.

                      19                          TWENTY-FIRST AFFIRMATIVE DEFENSE
                      20                                             (Waiver)
                      21            210. Plaintiffs have waived whatever rights they may have had to assert the
                      22 purported claims contained in the Third Amended Complaint and each purported

                      23 cause of action thereof against Defendant.

                      24                        TWENTY-SECOND AFFIRMATIVE DEFENSE
                      25                                 (Defendants’ Good Faith Belief)
                      26            211. Plaintiffs’ Third Amended Complaint, and each purported cause of
                      27 action alleged therein is barred, in whole or in part, because actions taken with

                      28 / / /
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                       1 respect to Plaintiffs’ employment, if any, were based on an honest, reasonable, and

                       2 good faith belief in the facts as known and understood at the time.

                       3                         TWENTY-THIRD AFFIRMATIVE DEFENSE
                       4                                    (Avoidable Consequences)
                       5            212. Plaintiffs are precluded from asserting their Third Amended Complaint
                       6 and each purported cause of action therein, because they failed to exercise

                       7 reasonable care to avoid the injuries they purportedly suffered in that, among other

                       8 things, Plaintiffs unreasonably failed to utilize Defendants’ internal grievance

                       9 procedures.

                      10                        TWENTY-FOURTH AFFIRMATIVE DEFENSE
                      11                                             (Laches)
                      12            213. Plaintiffs are barred by the doctrine of laches from pursuing their Third
                      13 Amended Complaint and each purported cause of action therein by reason of their

                      14 inexcusable and unreasonable delay in filing the subject action.

                      15                          TWENTY-FIFTH AFFIRMATIVE DEFENSE
                      16                                            (Consent)
                      17            214. Plaintiffs, at all relevant times, gave their consent, express or implied,
                      18 to the alleged acts, omissions, and conduct of Defendants.

                      19                          TWENTY-SIXTH AFFIRMATIVE DEFENSE
                      20                                         (Plaintiffs’ Acts)
                      21            215. Plaintiffs’ damages, if any, were caused by Plaintiffs’ own intentional
                      22 or negligent acts, thus barring or limiting Plaintiff’s right of recovery.

                      23                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                      24                                            (Penalties)
                      25            216. The Third Amended Complaint fails to allege facts sufficient to
                      26 establish a claim for penalties.
                      27 / / /

                      28 / / /
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                       1                        TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                       2                                       (No Willful Conduct)
                       3            217. Even if Defendants engaged in the conduct alleged by Plaintiffs, which
                       4 allegations Defendants deny, such actions or failure to act were not willful.

                       5                         TWENTY-NINTH AFFIRMATIVE DEFENSE
                       6                          (Failure to Exhaust Administrative Remedies)
                       7            218. Plaintiffs’ Third Amended Complaint, and each purported cause of
                       8 action alleged therein are barred as Plaintiffs have failed to satisfy the statutory

                       9 prerequisites to sue and to exhaust administrative remedies under the Private

                      10 Attorney General’s Act, Labor Code sections 2698 and 2699, and/or any other

                      11 applicable administrative remedy.

                      12                            THIRTIETH AFFIRMATIVE DEFENSE
                      13                                            (Payment)
                      14            219. Plaintiffs have been paid all sums earned by them and that are due and
                      15 owing to them by virtue of their performance of work as alleged in the Third

                      16 Amended Complaint.

                      17                          THIRTY-FIRST AFFIRMATIVE DEFENSE
                      18                                  (No Unfair Business Practices)
                      19            220. Plaintiffs’ cause of action for violation of Business and Professions
                      20 Code section 17200, et seq. is barred in that the alleged practices are not unfair, the

                      21 public is not likely to be deceived by any alleged practices, Defendants gained no

                      22 competitive advantage by such practices, and the benefits of the alleged practices

                      23 outweigh any harm or other impact they cause.

                      24                         THIRTY-SECOND AFFIRMATIVE DEFENSE
                      25                                    (After-Acquired Evidence)
                      26            221. If Plaintiffs suffered any loss, damage or detriment as a result of the
                      27 facts alleged in the Third Amended Complaint, which Defendants deny, such loss,

                      28 damage or detriment is limited or subject to an absolute bar based on after-acquired
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                       1 evidence that Defendants presently have and/or may acquire during the course of

                       2 this litigation.

                       3                          THIRTY-THIRD AFFIRMATIVE DEFENSE
                       4                                      (Speculative Damages)
                       5            222. Plaintiffs are precluded from recovering the damages alleged in the
                       6 Third Amended Complaint because those damages are too vague, uncertain and

                       7 speculative to permit recovery.

                       8                         THIRTY-FOURTH AFFIRMATIVE DEFENSE
                       9                                            (Privileges)
                      10            223. The Third Amended Complaint and each of its causes of action are
                      11 barred because all acts of Defendants affecting the terms and/or conditions of

                      12 Plaintiffs’ relationship with Defendants were privileged, and were done with good

                      13 cause.

                      14                          THIRTY-FIFTH AFFIRMATIVE DEFENSE
                      15                                            (Standing)
                      16            224. Plaintiffs lack standing to assert some or all of the claims alleged in
                      17 their Third Amended Complaint.

                      18                          THIRTY-SIXTH AFFIRMATIVE DEFENSE
                      19                                      (De Minimis Damages)
                      20            225. If in fact Defendants failed to pay Plaintiffs for all time worked, the
                      21 time is de minimis and therefore not compensable.

                      22                        THIRTY-SEVENTH AFFIRMATIVE DEFENSE
                      23                                    (Adequate Remedy at Law)
                      24            226. The Complaint fails to state facts sufficient to support any granting of
                      25 extraordinary or equitable relief, and otherwise had adequate remedies at law.

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                      27 / / /

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                       1                         THIRTY-EIGHTH AFFIRMATIVE DEFENSE
                       2                                       (Unknown Defenses)
                       3            227. Defendants allege that they may have other separate and/or additional
                       4 defenses of which it is not aware, and hereby reserves their right to assert them by

                       5 amendment to this Answer as discovery continues.

                       6                                  DEMAND FOR JURY TRIAL
                       7            Defendants demand a trial by jury on all issues so triable.
                       8

                       9
                           DATED: July 31, 2018                    LEWIS BRISBOIS BISGAARD &
                                                                   SMITH LLP
                      10

                      11
                                                                         /s/ Jeffrey S. Ranen
                      12                                           By:
                      13                                                 Jeffrey S. Ranen
                                                                         Brendan T. Sapien
                      14                                                 Amanda C. Koziol
                      15                                                 Attorneys for Defendants, ROCHE-
                                                                         BOBOIS USA, LTD. (“ROCHE-
                      16                                                 BOBOIS”), EUROPEAN CALIFORNIA
                      17                                                 FURNITURE, LTD., INPALA, INC,
                                                                         RBPASADENA, LLC, and ORANGE
                      18                                                 COAST DESIGN, LLC
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BISGAARD                   4838-8218-3022.1                              30
& SMITH LLP                                   DEFENDANTS’ ANSWER TO PLAINTIFFS’ THIRD AMENDED COMPLAINT
ATTORNEYS AT LAW
